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                                   UNITED S'fATES DISTRIC]T COI.]RT
                                        DIS'IRICT OF KANSAS

UNITED STAl'I]S OF AMERICA.                           )
                                                      )
                         PlaintifT.                   )
                                                      )
                                                      )       CaseNo.2l- 01271
                                                      )
$69.465.00 IN UNI'fED STATES                          )
CURRENCY. More or less.                               )
                                                      )
                         Det'end   a   nt.            )
                                                      )

                           COMPLAI                   R FORFEITURE IN REM

          Plaintiff. United States ofAmerica. by and through its attorneys. Duston.l. Slinkard. Acting

United States Attorney for the District of Kansas. and Scott Anderson. Special Assistant United

States Attomey. brings this complaint and alleges as            follows in accordance with Supplemental

Rule G(2) ofthe Federal Rules          ofCivil   Procedure:

                                         NATURE OF THE ACTION

          l.     This is an action to forf'eit and condemn to lhe use and benefit ofthe United States

of America the following property: $69,465.00 in U.S. Currency. more or less (hereinafter

"defendant property"), fbr violations        of2I   U.S.C. g 841.

                                         THE DEFENDANT IN REM

       2.        The defendant property consists of: $69.465.00 in United States currency. more or

less, that was seized by the Kansas Highway Patrol on or about August 28.2021 during a          traffic

stop of a 2015 CMC Yukon on I-70 near milepost 222 in Ellsworth County, in the District          of

Kansas.
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                                 JURISDICTION ANI) \'ENf E

       3.      Plaintiffbrings this action in rem in its own right to forfeit and condemn the

defendant property. This Court has jurisdiction over an action commenced by the United States

under 28 U.S.C. S 1345, and over an action for forfeiture under 28 U.S.C. S I 355.

       4.      This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

1355(b). Upon filing this complaint, the plaintiff requests that the Court issue an arrest warrant iz

rem pursuant to Supplemental Rule G(3)(b), which the      plaintiffwill   execute upon the property

pursuant to 28 U.S.C. S 1355(d) and Supplemental Rule G(3)(c).

       5.      Venue is proper in this district pursuant to 28 U.S.C. S I 355(bX I ). because the

acts or omissions giving rise to the forfeiture occurred in this district and/or pursuant to 28

U.S.C. S 1395. because the defendant property is located in this district.

                                   BASIS FOR FORFEITURE

       6.      The defendant property is subject to forfeiture pursuant to    2l   U.S.C. S 881(a)(6)

because it constitutes I ) money, negotiable instruments. securities and other things    ol value

furnished or intended to be fumished in exchange for a controlled substance in violation of the

Controlled Substances Act; and/or 2) proceeds traceable to such an exchange: and/or 3) money.

negotiable instruments. and securities used or intended to be used to facilitate a violation of the

Controlled Substances Act.

       7.      Supplemental Rule G(2)(l) requires this complaint to state      sfficiently tletailetl

facls lo supporl a reasonable belie;fthat the government will be oble to meet its burden of prool

al triol. Such facts and circumstances supporting the seizure and forfeiture olthe defendant

property are contained in Exhibit A. which is attached hereto and incorporated by reference.
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                                      CLAINI t'OR REt.llll

         WHEREFORE, the plaintiff requests that the Court issue a warrant fbr the arrest of the

defendant property; that notice of this action be given to all persons who reasonably appear to be

potential claimants of interests in the properties; that the defendant property be forleited and

condemned to the United States of America; that the plaintiffbe awarded its costs and

disbursements in this action; and for such other and further reliefas this Court deems proper and

just.

        The United States hereby requests that trial ofthe above-entitled matter be held in the

City of Wichita, Kansas.

                                                      Respectfully submitted.

                                                      DUSTON J. SLINKARD
                                                      Acting United States Attorne


                                                      SCOT'I       ANDERSON
                                                      Spec ial    sistant [Jnited States Attornev
                                                      District of Kansas
                                                      1200 Epic Center. 301 N. Main
                                                      Wichita. Kansas 67202
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                                                      Ks. S. Ct. No.26095




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                                             DECLARATION

          I. Dana C. Suchma. Special Agent. Drug Enforcement Administration in the District of

Kansas.

          I have read the contents ofthe foregoing Complaint for Forfeiture. and the exhibit

thereto, and the statements contained therein are true to the best   ofmy knowledge         and belief.

          I declare under penalty of perjury that the foregoing is true and correct.

          Executed on this   29Q   day of   QctoE,ez       .2021



                                                                                       ta   -23 2oZl
                                                        Special A gent Dana C- Suchnra
                                                         DEA




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                                  AFFI DAVIT

     I,   Dana C Suchma,   being first duly sworn, depose and state:
    Your affiant is a Special Agent with the United States Drug
    Enforcement Admlnistration (DEA), onj-ted States Department of
    Justice current.l-y assigned to the Kansas City Distr.ict Office.
    Kansas HighwayInterdiction Task Force. I have been so employed
    by DEA slnce March 1997. Before joining the DEA, I conducted
    background and      suitability investigations for the fede.ral
    government. My      duties include investj.gation of violations of        Lhe

    Controlled Substance Act, Title 21 of the United States Code and
    the forfeiture thereto.
2   The j-nformatj-on contained    in this affidavit is    known   to your
    Affiant thr:ough personal direct knowledge. and,/or through         a

    review of official      reports prepared by other la!, enforcement
    pe.rsonnel. This affidavit is submitted in support of a forfeiture
    proceeding.
3   On August   28, 2021 at approximately 3:59 A.M., Xansas        Highway

    Patrol    (KHP)   Lieutenant Justin Rohr observed a bj-ack 2015 GMC
    Yukon bearing      ll1inois license plate   number CX-21444 on westbound

    lnterstate 70 near milepost 222 in EIIsworth County, Kansas. The
    speed   of the vehicle    was checked as    traveling 81 miles per      hour
    in a posted 75 miles per hour zone. After the vehicle
    passed Lieutenant Rohr, Lieutenant Rohr conducted        a traffic stop
    on the vehicle near milepost 221 on westbound Interstate 70 in
    Ellsworth County, Kansas. A computer inquiry on Illinois           license
    plate   number CX-2L444 shows    that license plate to be registered
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  to a     2015 cMC   in t.he   name James    A.   LURZ,      302 West Darr Streetr,
  Eairfield, Illinois          6283?.

4. l,leutenant Rohr contacLed the driver                who   was identified     as Joshua
  1,. Smothers by hj-s Illinois           drivers .Iicense and informed Smothers
  of the reason for the stop. The sole passenger, who did not have
  any identificatj on,        was   identified     as    Trevor.f. Edwards.       Edwards

  advised he and       Smot   hers were    in transit to Denver, Colorado for                 a

  weekend    trip for dirt track racing and appeared nervous
  explaining this. During this conversation,                    Smothers was usLno        a

  vape pen that Lieut-enant         Roh   r knows could be used to cover odors
  of an il legal substance.
5, Lieutenant Rohr had dispat.ch run both subjects and was advised
  Smothers and Edwards had          prior drug related arrests. Lieutenant
  Rohr issued Smothers a warning             for the speed, explained the
  warning, asked if there were any questions, and advised Smothers
  and Edwards    to have a safe trip, Lieutenant Rohr began to walk
  back towards his patrol car and then re-approached the vehicle
  and made contact      with    Edwa.rds. Lieutenant Rohr asked Edwa.rds                 if
  he could ask him some questions. but Edwards advised                     he    would
  rather continue his trip.             Based on   various indicators of criminal
  act.ivity, to include but not limited to, the reg.istered owner not
  bej-ng   present, traveling overnight to avoid Iaw enforcement,
  Edwardsr nervousness and answering questions                    for Smothers, the
  use of the vape pen, and Smothersr and Edwards' criminal history
  involvinq drugs. Lieutenant Rohr advised Smothers and                        Edwards
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     they were being detained to deploy Lieutenant Rohr's Police
     Service Dog   (PSD)   .


6. Lieutenant Rohr's           PSD Gizmo was    deployed around the vehicle and
     aferted to the presence of a drug odor at the rear of the
     vehicle.   Smothers and Edwards advised         there were not any illegal
    drugs or large amounts of United States currency (USC) inside the
    vehicle. Lieutenant Rohr searched the vehicle and .located seven
    (?) rubber banded bundles of USC inside a black zippered bag
    inside a hard sided suitcase in the back of the vehicte.
7. After discovering the USC, l,ieutenant Rohr placed Smothers in
    handcuffs and inslructed Edwards to follow Lleutenant Rohr to
    Troop C in Salina, Kansas. Smothers and Edwards were advised                   of
    their Miranda warning but declined to answer questions.
    Lieut.enant Rohr provided Smothers and Edwards evidence re ce j-pt.s
    for the   USC. Smothers and Edwards both advised          the   USC      did not
    befong to them. Smothers and Edwards were released pending
    further investigation.
B   Lieutenant Rohr, assisted by Master Trooper Levi Eleruning,
    performed a screening on the         USC    at Troop C in Salina.        Kansas.

    PSD Gizmo   alerted to the presence of a drug odor emanating                 from
    the   USC. The USC was       transported to the Sunflower Bank in Salina,
    Kansas where an   officiaL count determined the          USC   to   be

    $69,465.00.
9   On September   2, 2027, your Affiant spoke with Department of
    Homeland    Security       (DHS) Homeland   Security Investigations        (HSI)

    Special Agent Ryan Morris of the Fairview Helghts, Illinois
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     Resident Offi ce regarding Edwards. S/A Morris advised that he has
      an actrve money laundering investigation involving Edwards being
     prosecuted out      of the Southern Distrlct of flIinois.              S,/A Morris

     identified a      USC   seizure in   New Mexlco and     a   mar r I uana    selzure In
     Omaha. Nebraska      that were associated with         Edwards and indicated
     that t.he two (2) subjects arrested in           Omaha, Nebraska were

     couriers for Edwards. Eol1ow up by your Affiant revealed the
     following pertinent j-nformation:
        a.   On   July 27, 2020, HSI agents in        New   Mexico responded to        a

             vehicLe stop conduct.ed by the Bureau of Indian Affairs
             (BIA)   . A consent search of the vehicle, regj.stered to
             Edwards who was     not present, resuJ-ted in the discovery              and

             seizure of S145,615,00 USC. The occupants of the vehicle
             disclaimed ownership of the USC. On August 6, 2020,
             HSI agents from Sprj.ngfield,      Illinois      interviewed        Edwards

             who denied ownership     of the   USC.

        b.   On January   76, 2021., officers from the        DEA Omaha         Dlvision
             were conductj-ng drug    interdicti-on duties at the           Amtrak
             station in   omaha, Nebraska     after receiving information             from
             the Amt.rak Police about the itinerary for two               (2)

             passengers, Donavon Allen Lurz and Stephen Gavins, Lurz and
             Gavins were Eraveling on one $ray t.ickets           that    were

             purchased by Edwards, The       total cost of tickets          was

             51,053.00. A probable cause search of four (4) suiLcases
             belonging to l,urz and cavins was conducted that Iesulted in
             the seizure of approximaLely 38 kilograms of                suspected
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          marijuana. l,urz provided the address 302 West Darr Street,
          Eaj-rfield, Illinois.    ft should be noted tlrat t}.e Eegistezed
          oaaer   of xbe vehicle in wbich    g]darard.s atrd        sothers t ere
          stopped o,2 euqn:st   28, 2027 in E,.lsvotth          cottt   ty, Kalsas *as
          registered to Ja ea A. Luzz, 302         WesX      Dazr Street,
          Eairfield, ITTi,rois    62837.

  10.     Based upon Lhe   information set out above, Affiant                      has

     probable cause to betieve that the S59,465.00.00 seized by the
     Kansas Highway   Patrol constitutes    money      or other things of value
     furnished or intended to be furnished in exchange for                     a

     controlled substance, or proceeds traceable to such an exchange,
     or was used or intended to be used to facilltate one or more
     violations of Title 21, U.S,C. S 841 et. seq. Accordingly, the
     property is subject to forfeiture pursuant to Title 21, U.S.C.                            S


     853 and 881.

                                                                                   7-/d-zoz /
                                           Special      Ag          Dana C Suchma
                                           DEA




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